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                             CLERK U.S. DISTRICT COURT
                                DISTRICT OF ARIZONA
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 1   11.   ELEMENTS
 2                         Unlicensed Money Transmitting Business,
 3                 in violation of 18 U.S.C. § 1960(a), (b)(1)(B) and (b)(1)(C)
 4          Between January 2018 and October 2020, in the District of Arizona and elsewhere:
 5          1.    The defendant knowingly conducted, controlled, managed, supervised,
 6          directed or owned all or part of an unlicensed money transmitting business;
 7          2.     The business affected interstate or foreign commerce in any way or degree;
 8          3.    The defendant knowingly failed to register his business with the Secretary of
 9          the Treasury or the Financial Crimes Enforcement Network, or to otherwise comply
10          with the money transmitting business regulations under Title 31, United States
11          Code, Section 5330; and
12          4.    The defendant knew that his transactions involved funds derived from a
13          criminal offense or intended to be used to promote and support unlawful activity.
14   12.   FACTUAL BASIS
15         a.     The defendant admits that the following facts are true and that if this matter
16   were to proceed to trial the United States could prove the following facts beyond a
17   reasonable doubt:
18         b.     Between January 2018 and October 2020, I regularly exchanged bitcoin for
19   U.S. currency. I operated from Austin, Texas but sent bitcoin, via an application on my
20   cell phone, to people across the country. Typically I received U.S. dollars from individual
21   members of the public via cash, check or wire into bank accounts I controlled, and I sent
22   the bitcoin to different individuals. I received money from D.P. in Arizona in this way in
23   December 2018 through February 2019, and I also received money from F.F. in Arizona
24   in the same way in January 2020.         I earned a commission on each exchange, at
25   approximately 8% of the value of the currency exchanged.
26         I advertised my business on the internet. On LocalBitcoins.com I instructed
27   prospective bitcoin buyers as follows: “What you do with bitcoin is your business and not
28   mine. Please do not speak of how you use it.” I knew that I was obligated to register with


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 1   the Financial Crimes Enforcement Network (“FinCEN”) and that I was obligated to file
 2   currency transaction reports with FinCEN for exchanges in excess of $10,000; I did neither.
 3   I also learned from some of the people who wired or otherwise exchanged currency that
 4   they were involved in (or victims of) fraudulent activity, including romance fraud. More
 5   than three million dollars were wired into accounts controlled by me in this time period.
 6          In January 2020 I began to exchange bitcoin for cash with a man I knew only by his
 7   first name. We met in person on a few occasions, and also communicated via text. I now
 8   understand that the man was an undercover agent. In March 2020 he mentioned for the
 9   first time that he was involved in the sale of drugs like ecstasy; I still exchanged bitcoin for
10   him, and I accepted $8,000 in cash in Austin, with another $13,000 structured into Arizona
11   banks at my direction. (I did not file a currency transaction report.) In April 2020 the man
12   mentioned for the first time that his main source of money came from cocaine sales. I
13   immediately directed him to use an encrypted application (Telegram) for future
14   conversations, and I still exchanged bitcoin for him and his associates, with the cash
15   structured into Arizona bank accounts at my direction.
16          In April, the man referred an associate to work with me directly. I knew her by her
17   first name, and we communicated via interstate communications through WhatsApp (audio
18   and video, and text). I now understand that she was also an undercover agent. I asked her
19   not to talk about “the other side of things” but when she referenced her cocaine money –
20   and how she wanted the bitcoin to be able to pay her suppliers – I continued doing business
21   with her. In May 2020 I exchanged bitcoin with her while I was in Austin and she was in
22   Arizona. In particular, on May 19, 2020, I directed her to send $5,000 from Arizona to
23   Austin via Federal Express (with the money hidden in the pages of a magazine), and I
24   directed her to structure another $12,900 into Arizona banks. (I did not file a currency
25   transaction report.)
26          c.     The defendant shall swear under oath to the accuracy of this statement and,
27   if the defendant should be called upon to testify about this matter in the future, any
28   intentional material inconsistencies in the defendant’s testimony may subject the defendant


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